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                      United States District Court
                      Eastern District of Michigan
                           Southern Division

 United States of America,                       Criminal No. 17-cr-20639

                   Plaintiff,                    Honorable Terrence G. Berg
 v.

 D-3 Mariano Lozoya Garcia,

                   Defendant.
                                             /

               Government’s Sentencing Memorandum

 I.    Introduction

       Mariano Garcia steadily and frequently distributed multiple

 kilograms of cocaine and heroin from Texas to Alabama and Detroit.

 Garcia conspired with the codefendants Michael Griffin and Dennis

 Epps, and victim, Robert Eddins, to distribute cocaine in Michigan and

 Alabama. However, when Eddins refused to pay for some drugs, Garcia

 encouraged Griffin and other coconspirators, to travel from Alabama to

 Detroit to harass and injure Eddins to collect that debt. During the

 attempt to collect the debt, two people—Eddins and an innocent

 bystander— were brutally murdered. And, after these murders, Garcia

 continued to distribute drugs to coconspirators Griffin and Epps,


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 meeting with them in Texas and providing what he thought a kilogram

 of heroin.

       Garcia pleaded guilty to Counts One, Three and Five of the Third

 Superseding Indictment. Count One charges him with aiding and

 abetting Interstate Travel with the Intent to Kill, Injure, or Harass,

 Death Resulting contrary to 18 U.S.C.§§ 2261A(1) and 2261(b)(1).

 Count Three charges him with aiding and abetting Interstate Travel in

 the Aid of Unlawful Activity, Death Resulting contrary to 18 U.S.C. §

 1952. Count Five charges him with Conspiracy to Possess with Intent

 to Distribute Five Kilograms or more of Cocaine and a Detectable

 Amount of Heroin, contrary to 21 U.S.C. §§ 846, 841(a)(1)(A), pursuant

 to a plea agreement. Count Five carries a mandatory minimum

 sentence of 180 months, while Counts One and Three do not. The

 parties agreed in the Rule 11, pursuant to Federal Rule of Criminal

 Procedure 11(c)(1)(C), that a sentence of 300 months is the appropriate

 disposition of this case.

       A Presentence Investigation Report (“PSR”) was prepared. There

 are no unresolved objections. Probation determined that Griffin’s

 guideline range is 324 months to 405. (PSR ¶ 69). The government


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 requests this Court accept the plea agreement and impose a sentence

 consistent with its terms.

 II.   Facts

       Beginning in June 2016, Mariano Garcia, from Brownsville,

 Texas, distributed with codefendants Troy Harris and Reuben Valdez

 and others ten kilograms of cocaine in the Eastern District of Michigan.

 Garcia coordinated the load of cocaine, brought to Michigan from

 Maryland by Valdez. He provided the cocaine to Harris who further

 distributed it. Garcia helped load over $300,000 in a secret

 compartment in Valdez’s vehicle to be transported to Texas. During the

 June 2016 distribution in Detroit, Harris introduced Garcia to Michael

 Griffin and Robert Eddins, friends of his from Alabama.

       Garcia, Griffin, and Eddins, formed a sophisticated, nationwide

 conspiracy to possess and to distribute cocaine and heroin throughout

 the United States—including the Eastern District of Michigan. Garcia,

 living in Texas, would supply Griffin and Eddins with kilogram

 quantities of cocaine on a consignment basis. Garcia would front the

 drugs, then collect $34,000 per kilogram after the drugs were sold.

 Consistent with their agreement, Griffin and Eddins met with Garcia


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 multiple times in Texas and in Birmingham, Alabama to facilitate the

 distribution of the kilograms. Griffin would sell his product in

 Birmingham, while Eddins would sell his in Birmingham and Detroit.

       In late October, Garcia fronted at least ten kilograms of cocaine to

 Eddins and Griffin. Eddins took his portion of the cocaine to Detroit to

 distribute it. On November 18, 2016, Griffin traveled to Texas to pay

 for Griffin’s portion of the cocaine. Eddins did not pay Garcia for the

 cocaine that he was given. Eddins failure to pay caused a rift to develop

 between the conspirators. Griffin texted Eddins, expressing his

 disappointment about the refusal to pay for the drugs: “Cuzz this is bad

 and you no it now he putting all this on me.” Eddins replied, “Man f*ck

 him I’ll turn around.” Garcia’s last text to Eddins was direct,

 “Cocksucker stop being a coward and man up and admit you are

 nothing but a dreamer. Get allmy $ together.”

       Garcia was holding Griffin accountable for Eddins nonpayment

 and refused to supply any more drugs until payment was received.

 Garcia and Griffin communicated by text message, almost daily, about

 Eddins. Garcia repeatedly encouraged Griffin to travel to Detroit to

 locate Eddins and collect the debt.


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       In December, Griffin made efforts to find Eddins and get the

 money he owed to Garcia. On December 18, Griffin, Dennis Epps, and

 another individual left Birmingham, Alabama, and traveled to Detroit

 to collect the debt from Eddins. The next day, at approximately 8:15

 p.m., Griffin, Epps, Garcia and another member of the conspiracy met

 Eddins at his house on Pierson Street in Detroit. They drove to a

 Walmart in Livonia, Michigan. Inside the Walmart, they were captured

 on surveillance video. The four then returned to Eddins’s home. While

 they were at Eddins’s home, Ricardo McFarlin, a friend of Eddins,

 arrived. Griffin, and the other member of the conspiracy remained at

 the house with Eddins and McFarlin.

       While Griffin was inside Eddins’s house, he was in constant

 contact with Garcia, who was encouraging Griffin to collect the debt. At

 11:42 pm, Garcia texted Griffin, “So hes laughing at us still.” Griffin

 responded, “Just chill dude I got him comfortable. I will not let him out

 my sight.” To which, Garcia said, “Ok u call me.” Interspersed between

 multiple lengthy calls between Garcia and Griffin, Garcia texted Griffin

 at 12:40 am on December 20, “Why don’t you move him somewhere else.

 So they can start bringing all the money in. We want the kid as


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 warranty.” And a final warning at 1:07 am, referring to codefendant

 Troy Harris (nicknamed “Red”), Garcia texted Griffin “Keep in mind red

 he knows too much.”

       Griffin and the other conspirator murdered Eddins and McFarlin

 in the basement of the house. Eddins was fatally shot three times in

 the head. McFarlin had seven gunshot wounds including defensive

 wounds on his wrists, which are consistent with McFarlin trying to hold

 up his hands prior to being shot. There were also contusions on his right

 hand and wrist consistent with being restrained. DPD recovered eight

 nine-millimeter shell casings. Ballistics determined seven rounds were

 fired from one gun and one round was fired from a second gun.

 Homicide investigators also believe that pillows from upstairs were

 brought down to the basement and used to muffle the gun shots.

 Eddins was wearing the same clothing that was depicted in the

 Walmart video, including the Timberland boots and sweatpants,

 missing was the gray puffy coat that his father had got for him:




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     Still Photograph from Crime Scene Depicting both victims

       After the murders, Griffin went and picked up Epps at a local

 hotel at around 3:52 am. They drove directly back to Birmingham,

 Alabama, and reached there around 4:00 pm.

       At 5:37 pm EST, Epps searched Detroit Free Press and News

 websites. He ultimately read an article about the homicide that

 evening. Approximately 30 minutes after Epps started searching news

 sites, Eddins’s father, Robert Eddins III, went to the Pierson house, not

 having heard from his son all day. He found the house unlocked, no

 signs of forced entry. Inside, music and the TV were blaring and the

 strong smell of gas from the oven in the kitchen. The three bedrooms on

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 the main floor had been ransacked. He found his son and McFarlin in

 the basement with obvious multiple gunshots to the head and face.

         After the murders Garcia continued to communicate and meet

 with Griffin and Epps. They traveled together to meet with Garcia on

 January 3, 2017, in Katy, Texas. While in Texas, Garcia gave Griffin

 and Epps what was believed to be a kilogram of heroin. (Although

 Garcia believed the substance was heroin and agreed to distribute it,

 the substance was actually counterfeit).

         The next day, January 4, 2017, while Griffin and Epps were

 traveling back to Alabama, along with another individual, they were

 stopped by Louisiana State Police. Their car was searched and, in the

 trunk, troopers located a kilogram of non-narcotic heroin byproduct.

 Troopers also recovered six cell phones from the vehicle and the gray

 puffy jacket that Eddins was seen wearing in the Walmart surveillance

 video hours before he was murdered. Two days later, a subsequent

 search of the car, revealed a nine-millimeter handgun under the driver’s

 seat.

    III. Advisory Sentencing Guidelines




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       Although the sentencing guidelines are advisory, the Court must

 nonetheless begin its sentencing analysis by properly calculating the

 applicable range defendant faces. See United States v. Booker, 543 U.S.

 220, 245 (2005). The advisory Guidelines remain an important factor in

 sentencing. “[I]t is fair to assume that the Guidelines . . . reflect a rough

 approximation of sentences that might achieve section 3553(a)’s

 objectives.” United States v. Rita, 551 U.S. 338, 345 (2007).

       In United States v. Gall, 552 U.S. 38 (2007), the United States

 Supreme Court provided a template for sentencing proceedings in the

 district court. The Court held that a district court should begin

 sentencing proceedings by correctly calculating the applicable

 guidelines. Gall, 552 U.S. at 49.

       Probation scored Garcia’s advisory guideline range as 324 – 405

 months. The parties entered into a plea agreement pursuant to Federal

 Rule of Criminal Procedure 11(c)(1)(C), which if accepted by the Court,

 requires a sentence of 300 months. The government requests the Court

 accept the plea agreement under Rule 11(c)(1)(C) and impose a sentence

 on Garcia of 300 months imprisonment.

 IV.   Sentencing Factors


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       Congress has provided, through 18 U.S.C. § 3553(a), the relevant

  objectives and factors to be considered by sentencing courts in imposing

  a “sentence sufficient, but not greater than necessary.”

       Those objectives are: (1) the nature and circumstances of the

  offense, and the history and characteristics of the defendant; (2) the

  need for a sentence to reflect the basic aims of sentencing (including

  retribution, deterrence, incapacitation, and rehabilitation); (3) the kinds

  of sentences legally available; (4) the Sentencing Guidelines; (5)

  Sentencing Commission policy statements; (6) the need to avoid

  unwarranted sentencing disparities among defendants with similar

  records who have been found guilty of similar conduct; and (7) the need

  for restitution. The most relevant factors are evaluated below.

       1. Nature and circumstances of the offense, 18 U.S.C. §
          3553(a)(1)

       The nature and circumstances of this offense are extremely

  serious. Not only did Garcia’s engage in long-term large scale drug

  distribution of highly addictive and destructive hard narcotics, but he

  encouraged Griffin to seek out Eddins to pay a drug debt. A direct

  result of his encouragement was the murder of Eddins and an innocent

  bystander who had the misfortune of visiting Eddins at the wrong

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  time—moments before he was to be killed. Unlike Griffin and others,

  Garcia did not travel to Michigan to confront Eddins. Rather, he

  encouraged them to harass and injure to collect the drug debt.

       2. The history and characteristics of the offender, 18 U.S.C.
          § 3553(a)(1)

       This is not Garcia’s first conviction for a large-scale drug

  trafficking operation. Garcia is on supervised release for his 2002

  conviction in the United States District Court in Macon, Georgia, for

  possession with intent to distribute 5 or more kilograms of cocaine.

  (PSR ¶ 47). In that case, Garcia was a load manager that coordinated

  the distribution of 264 kilograms of cocaine from Brownville, Texas to

  Albany, Georgia. After serving a 182-month sentence, Garcia returned

  to similar conduct and committed the instant offenses while on

  supervised release. (PSR ¶ 49).

       3. Seriousness of the offense, promoting respect for law, and
          providing just punishment, 18 USC § 3553(a)(2)(A)

       The seriousness of Garcia’s offense cannot be understated. “A just

  punishment takes into account the consequences of a defendant’s

  crimes, and their impact on the victims, others, and the community.”

  United States v. Haughawout, 502 F. Supp.3d 1234, 1238 (N.D. Ohio


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  2020). It cannot be disputed that the impact of Garcia’s crimes has been

  significant. Not only did his membership in a violent drug conspiracy,

  put dangerous drugs on the street, but Garcia also helped contribute to

  the deaths of two people. The extent of the suffering inflicted on the

  victims’ families is painfully evident from their impact statement. See

  Sealed Exhibit 1.

       4. Adequate deterrence and protecting the public from
          further crimes of the defendant, §3553(a)(2)(B) and (C)

       This factor includes two components—specific deterrence and

  general deterrence. Specific deterrence looks to dissuade an individual

  defendant from committing future crimes, while general deterrence

  aims to have the same effect on “the population at large.” United States

  v. Camiscione, 591 F.3d 823, 834 (6th Cir. 2010).

       A sentence of 300 months is significantly greater than Garcia’s

  prior drug trafficking conviction. It takes into account Garcia’s

  encouragement of violence, even if just to collect a drug debt. It also

  takes into account Garcia’s history of large-scale drug trafficking, a life

  that Garcia clearly has not left. A significant sentence of incarceration

  supports specific deterrence.



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       In this case, a sentence of 300 months is particularly relevant to

  general deterrence, thereby dissuading the population at large for

  attempting similar criminal endeavors. A significant sentence sends a

  clear and unambiguous message to those who would ignore the violence

  associated with the trafficking of drugs, just for money. The

  consequences will be severe.

  V.   Conclusion

       The government recommends that the Court impose a sentence of

  300 months.

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  Dated: September 14, 2023




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                           Certificate of Service

       I hereby certify that on September 14, 2023, I electronically filed

  the government's sentencing memorandum with the Clerk of the

  Court using the CM/ECF system, which will send notification of the

  filing to the attorney of record. Because Exhibit 1 of the sentencing

  memorandum is filed under seal, I will provide a copy of Exhibit 1 to

  the attorney of record, Mervyn Mossbacker.


                                           /s/ Rajesh Prasad
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